Bloods gangbadser pehifat RIBAS beheer RAHM Wd Lark Pied 04/21/17 Page 1of2 page 1 of 2

BREAKING NEWS Attorney General Jeff Sessions spoke with Russians during Trump’s campaign ()

METRO EXCLUSIVE

Bloods gangbanger penned Rikers officer hit list

By Dana Saéucheli and Janne Schram May 2, 2014 | 1:53am

 

As word of the "Blood-Roster" threat spreads, some staff at Rikers say Correction Commissioner Joseph Ponte (right) is putting them in danger

AD Peto Re Urea Abbas

A high-ranking Bloods gangbanger made a terrifying “hit list” of Rikers Island officers and staffers to target for violent attacks, sources told
The Post.

The handwritten list — with the headings "Blood-Roster” and “Top 10" — was confiscated from a cell at
the Anna M, Kross Center, the sources said.

On it are supervisors and guards, as well as a top correction official who is widely loathed by prisoners.
Ina sick game, the Bloods are also offering “50 points” each for any “yard officer” or “security officer.”
The list is written in black ink on a piece of paper and says the attacks are “To Start May 1.”

A source close to the situation said there was a second “hit list” that included the names of nurses,
doctors, social workers,

http://nypost.com/2014/05/02/rikers-island-hit-list-names-officers-targeted-by-bloods-gang/ = 3/1/2017
Bloods ganpbativer-peArfedt RARAY bfheer RAN] Neve -Verk Pege 04/21/17 Page 2 0f2 page? of 2

“We do have an internal security protocol that Is followed whenever there is a verified threat, as we take
every measure to keep our staff safe and secure, along with the cooperation of the NYPD in
investigating such matters,” sald a spokesman for the Department of Correction.

Officials did not release the name of the Bloods member who had the note, but It was mentioned to
guards at roll call.

“When there’s a substantial threat and the intelligence seems legit about a hit on staff, they let the
officer take home a department gun for his or her protection and portable walkie-talkie radios on the
NYPD citywide frequency," a source said.

As word of the threat spread, Rikers officers fumed that new Correction Commissioner Joseph Ponte
has created “a crisis situation” by adopting a “hug-a-thug” policy.

 

Since his April appointment, Ponte — former head of the Maine Department of Correction — has nixed
solitary confinement for the worst offenders, choosing Instead to counsel them in programs with

 

The “Blood-Roster” hit list
rewards including pizza parties, the source said. Handout

“It’s a crisis situation at the jail. The inmates have the upper hand,” sald another source. “They are very emboldened because they know
there is no punitive segregation.”

But a correction spokesman denied “any claims that Commissioner Ponte has ended punitive segregation.”

A third officer said, “Ponte is horrible, and the majority of correction officers view him as an inmate lover and they want him gone already.
It's just going to get worse and worse if he stays.”

Since Ponte was given the top spot, inmates have run amok in the 10-jail complex, attacking two medical interns and one other staffer in
separate incidents.

One of the beatdowns, caught on video, showed Inmate Joseph McRae slamming his fist into the face of a medical intern, breaking her jaw
and other facial bones.

Correction officers have been warned not to use force against inmates and told that If a prisoner sues claiming brutality, the facility won't
back them, the sources said.

Correction brass said, “No officer would be told this.”

ESI 8.000s GANG, GANGS, JAIL, JOSEPH PONTE, RIKERS ISLAND

Recommended by

http://nypost.com/2014/05/02/rikers-island-hit-list-names-officers-targeted-by-bloods-gang/ = 3/1/2017
